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 6
                              UNITED STATES DISTRICT COURT
 7
                           SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                 Case No. 23CR0956-JO

12               Plaintiff,                    I N F O R M A T I O N
                                                   (Superseding)
13         v.
                                               Title 18, U.S.C. Section 933(a) –
14   HOMERO CERVANTES ROSALES (3),             Conspiracy to Traffic Firearms;
                                               Title 18, U.S.C. Section 922(g)(1)
15               Defendant.                    – Dealing Firearms Without a
                                               License; Title 18, U.S.C., Secs.
16                                             924(d) and 934(a), and Title 28,
                                               U.S.C., Sec. 2461(c) - Criminal
17                                             Forfeiture

18
          The United States Attorney charges:
19                                   Count 1
20        Beginning on a date unknown to the grand jury and continuing up to
21 and including April 20, 2023, within the Southern District of California

22 and elsewhere, defendant, HOMERO CERVANTES ROSALES, did knowingly and
   intentionally conspire with other persons, known and unknown to the
23
   grand jury to ship, transport, transfer, cause to be transported, and
24
   otherwise dispose of firearms, to wit: the firearms specified below, in
25
   and otherwise affecting commerce, having reasonable cause to believe
26 that the use, carrying, and possession of the firearm by UCA1 and UCA3

27 would constitute a felony; in violation of Title 18, United States Code,

28 Section 933(a).
     MCB
     10/6/23
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 1                                 Firearms
         The firearms defendant conspired to traffic in Count 1 include,
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   but are not limited to:
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      a. one Radical Firearms rifle, Model RF-16, bearing serial number
 4       21-030500;
      b. one Eagle Arms rifle, Model Eagle-15, bearing serial number 15-
 5       000444B;
      c. one Aero Precision rifle, Model X15, bearing serial number
 6       X173866;
 7    d. one Ander Manufacturing rifle, Model AM-15, bearing serial number
         16038758;
 8    e. one American Tactical Imports rifle, Model Omni Hybrid, bearing
         serial number NS084511;
 9    f. one Aero Precision rifle, Model M4E1, bearing serial number M4-
         0237508;
10    g. three non-serialized PMF rifles;
11    h. one Palmetto State Armory rifle, Model PA-15, bearing serial
         number SCD0686982;
12    i. one CMMG Inc. rifle, Model MK-4, bearing serial number BMR07716;
      j. one Aero Precision rifle, Model X15, bearing serial number
13       X211541;
      k. one High Standard Firearms rifle, Model HAS-15, bearing serial
14       number RES04097;
      l. one DPMS Inc rifle, Model A15, bearing serial number N0005094;
15
      m. one Anderson Manufacturing rifle, Model AM-15, bearing serial
16       number 20005102;
      n. one Savage rifle, Model MSR-10, bearing serial number LR003323;
17    o. one Legend MFG Inc.(American Pride) rifle, bearing serial number
         12783;
18    p. one non-serialized silencer;
      q. one Radical Firearms rifle, Model RF-15, bearing serial number 2-
19
         003313;
20    r. two non-serialized PMF pistols;
      s. one Del-Ton Inc. pistol, DTI-15, bearing serial number DTI-
21       S188974;
      t. one Rohm revolver, Model RG62, bearing serial number 16669;
22    u. one Taurus International pistol, bearing serial number TIP96217;
         and
23    v. one Rock Island Armory pistol, bearing serial number R1A1447684.
24                                     Count 2
25      On or about February 21, 2023 and continuing up to and including
26 April 20, 2023, within the Southern District of California, the

27 defendant HOMERO CERVANTES ROSALES, not being licensed dealer or

28 manufacturer of firearms within the meaning of Chapter 44, Title 18,
                                      2
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 1 United States Code, did willfully engage in the business of dealing

 2 firearms; in violation of Section 922(a)(1)(A) of Title 18 of the

 3 United States Code.

 4                            FORFEITURE ALLEGATIONS

 5      1.    The allegations contained in Counts 1 and 2 are realleged and

 6 by their reference fully incorporated herein for the purpose of alleging

 7 forfeiture to the United States of America pursuant to the provisions

 8 of Title 18, United States Code, Sections 924(d) and 934(a) and Title

 9 28, United States Code, Section 2461(c).
10      2.    Upon conviction of the offense alleged in Count 1 of this

11 Superseding Information and pursuant to Title 18, United States Code,

12 Sections 924(d), 934(a)(1)(A) and (a)(1)(b) and 934(a)(2), defendant

13 HOMERO CERVANTES ROSALES shall forfeit to the United States any and all

14 firearms and ammunition involved in the offense, any and all property

15 constituting, or derived from, any proceeds the defendant obtained,

16 directly or indirectly, as the result of the violation, and any and all

17 property used or intended to be used in any manner or part to commit and

18 to facilitate the commission of the violation alleged in Counts 1 and 2

19 of this Superseding Information. The properties to be forfeited include,

20 but are not limited to: one Radical Firearms rifle, Model RF-16, bearing

21 serial number 21-030500; one Eagle Arms rifle, Model Eagle-15, bearing

22 serial number 15-000444B; one Aero Precision rifle, Model X15, bearing

23 serial number X173866; one Ander Manufacturing rifle, Model AM-15,

24 bearing serial number 16038758; one American Tactical Imports rifle,

25 Model Omni Hybrid, bearing serial number NS084511; one Aero Precision

26 rifle, Model M4E1, bearing serial number M4-0237508; one non-serialized

27 PMF rifle; one Palmetto State Armory rifle, Model PA-15, bearing serial

28 number SCD0686982; one CMMG Inc. rifle, Model MK-4, bearing serial number
                                           3
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 1 BMR07716; one Aero Precision rifle, Model X15, bearing serial number

 2 X211541; one non-serialized PMF rifle; one High Standard Firearms rifle,

 3 Model HAS-15, bearing serial number RES04097; one DPMS Inc rifle, Model

 4 A15, bearing serial number N0005094; one Anderson Manufacturing rifle,

 5 Model AM-15, bearing serial number 20005102; one non-serialized PMF

 6 rifle; one Savage rifle, Model MSR-10, bearing serial number LR003323;

 7 one Legend MFG Inc.(American Pride) rifle, bearing serial number 12783;

 8 one non-serialized silencer; one Radical Firearms rifle, Model RF-15,

 9 bearing serial number 2-003313; one non-serialized PMF pistol; one Del-
10 Ton Inc. pistol, DTI-15, bearing serial number DTI-S188974; a Rohm

11 revolver, Model RG62, bearing serial number 16669; a non-serialized PMF

12 pistol; a Taurus International pistol, bearing serial number TIP96217;

13 a     Rock       Island       Armory   pistol,   bearing   serial   number   R1A1447684;

14 approximately 25 magazines; various firearm parts, and ammunition.

15         3.       Upon conviction of one and more of the offenses alleged in

16 Counts       1    and     2   of   this   Superseding   Information,   defendant   HOMERO

17 CERVANTES ROSALES shall forfeit to the United States, pursuant to Title

18 18, United States Code, Section 924(d), and Title 28, United States

19 Code, Section 2461(c), all firearms and ammunition involved in the

20 commission of the offenses. The firearms and ammunition to be forfeited,

21 include, but are but not limited to the firearms described in paragraph

22 2 above.

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 1      All in violation of Title 18, United States Code, Section 924(d),

 2 934, and Title 28, United States Code, Section 2461(c).

 3
        DATED:   October 19, 2023.
 4
                                                 TARA K. MCGRATH
 5                                               United States Attorney
 6
                                                 By:
 7                                                     MATTHEW BREHM
                                                       Assistant U.S. Attorney
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